










Opinion issued August 5, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01–03–00659–CV




ERICH W. NORRIS, Appellant

V.

GARY FRUGE FOREIGN, INC., Appellee




On Appeal from the 189th District Court
Harris County, Texas
Trial Court Cause No. 2002-03986




MEMORANDUM OPINIONAppellant Erich W. Norris has failed to timely file a brief.  See Tex. R. App. P.
38.8(a) (failure of appellant to file brief).  After being notified that this appeal was
subject to dismissal, appellant Erich W. Norris did not adequately respond.  See Tex.
R. App. P. 42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Justices Taft, Jennings, and Keyes.


